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 8                                 UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
10
      UNITED STATES OF AMERICA,                      )
11                                                   )    Case No. 2:16-cr-00155-JCM-CWH
                      Plaintiff,                     )
12                                                   )       STIPULATION FOR TURNOVER
              v.                                     )           OF SEIZED FUNDS TO
13                                                   )            CLERK OF COURT
      CALVIN ROBINSON,                               )
14                                                   )
                      Defendant.                     )
15                                                   )
16

17           The United States of America (“Government”) and Defendant Calvin Robinson

18   (“Robinson”), by and through their counsel of record, hereby stipulate as follows:

19           IT IS HEREBY STIPULATED AND AGREED that the $29,795 seized from

20   Robinson at or near the time of his arrest, which funds are currently in the possession of the

21   FBI, shall be turned over by the FBI to the Clerk of Court for application toward Robinson’s

22   restitution order.

23           IT IS FURTHER STIPULATED AND AGREED that the funds shall be held by the

24   Clerk of Court and shall not be disbursed until further order of this Court and/or the Ninth

25   Circuit and/or stipulation of the parties.

26           IT IS FURTHER STIPULATED AND AGREED that upon approval of this

27   stipulation by the Court, the Government’s Motion for Turnover and Application of Seized

28   Funds to Restitution, ECF No. 173, may be deemed withdrawn.


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 1          IT IS FURTHER STIPULATED AND AGREED that the restitution order against
 2   Robinson is a final order notwithstanding the fact that the judgment is currently on appeal. See
 3   Ninth Circuit Case No. 17-10492; see also 18 U.S.C. §3664(o). This stipulation does not
 4   operate as a stay of the judgment nor does it preclude the United States from pursuing all
 5   available remedies to collect on the judgment. It is agreed, however, that any additional funds
 6   paid by Robinson or collected by the United States shall be held by the Clerk of Court until the
 7   appeal is resolved and/or further order of this Court. The reason for this stipulation is the
 8   parties’ recognition that the pending appeal could impact the amount and/or validity of
 9   restitution ordered. See 18 U.S.C § 3664(o)(1)(B).
10          Respectfully submitted this 21st day of June 2018.
11

12    DAYLE ELIESON                                    LAW OFFICE OF MARK D. EIBERT
      United States Attorney
13                                                     /s/ Mark D. Eibert
      /s/ Mark E. Woolf                                MARK D. EIBERT, ESQ
14    MARK E. WOOLF                                    PO Box 1126
15    Assistant United States Attorney                 Half Moon Bay, CA 94019

16    Attorneys for the United States                  Attorney for Defendant Robinson

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                                                      IT IS SO ORDERED:
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24
                                                      UNITED STATES DISTRICT JUDGE
25                                                    UNITED STATES MAGISTRATE JUDGE
26
                                                                   June 25, 2018
27                                                    DATED:

28


                                                       2
